Case 2:17-cV-00208-DBH Document 1 Filed 06/08/17 Page 1 of 3 Page|D #: 1

UNITED STATES DISTRICT COURT
DISTRICT OF MAINE

MARYANN AND TODD MYRICK,
Individually, and as Personal Representatives
of the Estate of Michael Myrick

PLAINTIFF
v. Civil Docket No.:

MID COAST HOSPITAL

VV\./\~l\./VVVVVV

DEFENDANT

COMPLAINT AND DEMAND FOR JURY TRIAL

NOW COMES the Plaintiffs, Maryann and Todd Myrick, Individually, and as Personal

Representatives of the Estate of Michael Myrick, by and through their undersigned attorney, and

complains against Defendant as follows:

l. Plaintiffs are residents of Richmond, County of Sagadahoc, State of Maine.

2. Upon information and belief, Defendant is a domestic, non-profit corporation, in good
standing, With a principle place of business in Brunswick, County of Sagadahoc, State of
Maine.

3. Pursuant to F.R.Civ.P. 38(b), Plaintiffs hereby demand trial by jury on all issues triable to
a jury.

4. This court has subject matter jurisdiction of this action under 28 U.S.C. § 1331 as this
action arises under a law of the United States.

5. Venue is proper in the District of Maine under 28 U.S.C. § 139l(b). Under Local Rule
3(b), this action is properly filed in Portland, Maine because this case arises in Sagadahoc

County.

Case 2:17-cV-00208-DBH Document 1 Filed 06/08/17 Page 2 of 3 Page|D #: 2

On or about September 18, 2015, the decedent, Michael Myrick, was taken to the
emergency department at Mid Cost Hospital, via emergency services, for complaints of
shortness of breath, persistent cough, green sputum and his asthma inhalers were not
working Michael is provided treatment and discharged to home with instructions to
return if his symptoms worsened.

On this same day, September 18, 2015, Michael Myrick returns to the emergency
department of Defendant, Mid Coast Hospital, as instructed, due to his worsening
symptoms Michael still had complaints of shortness of breath, however, now there is
pain associated with his cough along with new symptoms of chest tightness with
shortness of breath and wheezing, vomiting and six (6) bouts of diarrhea since leaving
this emergency department earlier in the day.

Defendant diagnosed Michael Myrick with acute asthma and orders a nebulizer
treatment Failing to improve after the first nebulizer treatment, Defendant re-assesses
Michael and orders another nebulizer treatment During this second nebulizer treatment
Michael experiences worsening shortness of breath, becomes shaky and his heart begins
to race. The nebulizer treatment was stopped. Michael remains anxious due to his
respiratory distress and his low oxygen saturations. ln response to Michael’s anxiety, the
Defendant orders Ativan lmg be given through the IV. An hour later, Michael is sedated
by the effects of the Ativan but Michael’s heart rate remains high and his oxygen
saturations levels remain critically low. In response, Defendant gives Michael another
nebulizer treatment Without tilrther evaluation or treatment, at approximately ll: 54

p.m., the Defendant sends Michael home.

Case 2:17-cV-00208-DBH Document 1 Filed 06/08/17 Page 3 of 3 Page|D #: 3

On September 19th, 2015, at approximately 7: 17 a.m., Michael is unable to breath and
calls 911. Shortly after the call, Michael’s sister, Diane Ellison, finds Michael rigid and _
unable to breathe. Diane begins CPR in an effort to save her brother’s life. Upon arrival,
EMS takes over CPR but are unable to revive Michael. At 8:02 a.m., barely an hour
after Michael’s frantic ca11 for rescue, Michael is declared dead by EMS.

Defendant failed to recognize an emergency medical condition, failed to admit, observe,
treat and stabilize Michael Myrick on his second visit to the emergency department, with
worsening signs and symptoms of respiratory distress and an intractable asthma attack.
Furtherrnore, Defendant failed to initiate aggressive therapy to alleviate the severity of

his asthma and infection, in violation of the Emergency Medical Treatment and Active
As a direct and proximate result of the Defendant’s conduct and violation of EMTALA,
WHEREFORE, Plaintiffs pray for judgment against Defendant for damages in such

amount as may be shown by proof, for wrongful death, compensatory damages, loss of

consortium, attorneys’ fees, costs, interest, and such other and further relief as may be

June 8, 2017 /s/ Owen Pickus, DO., Esq.

 

 

9.
10.
Labor Act (EMTALA), 42 U.S.C. § 1395dd
1 1.
Plaintiffs have suffered damages
just and equitable in the premises
Date

Owen Pickus, DO., Esq. Bar#:4248

Owen Pickus, DG, Esq. & Associates
2 Storer Street, Ste. 200-A
Kennebunk, ME 04043

(207) 467-9146
owenpickus@owenpickuslaw.com
Attorneys for Plaintiffs

